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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:16CR331
                      Plaintiff,

       vs.                                                               ORDER

BERNARDO WILLIAMS-JAUREGUI,

                      Defendant.


       The defendant, Bernardo Williams-Jauregui, has moved to continue the trial (filing no.
213). The motion to continue is unopposed by counsel for the Government. Based on the
showing set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Bernardo Williams-Jauregui's unopposed motion to continue trial
               (filing no. 213) is granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in the Special Proceedings Courtroom of the United
               States Courthouse, Omaha, Nebraska, at 9:00 a.m. on March 26, 2018, or as
               soon thereafter as the case may be called, for five days. Jury selection will be
               held at commencement of trial.

       3)      Failing to timely object to this order as provided under this court’s local rules will
               be deemed a waiver of any right to later claim the time should not have been
               excluded under the Speedy Trial Act.

       January 25, 2018.

                                                      BY THE COURT:

                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
